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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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Trevor Lucas,
                                                                                 STIPULATION AND
                                                                 Plaintiff,      ORDER OF DISMISSAL

                                 -against-                                       19-cv-03494 (FB) (RLM)

City of New York, et al.,

                                                              Defendants.

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                  WHEREAS, the parties have reached a settlement agreement and now desire to

resolve the remaining issues raised in this litigation, without further proceedings and without

admitting any fault or liability;

                  NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

and between the undersigned, that:

         1.      The above-referenced action is hereby dismissed with prejudice; and

         2.      Notwithstanding the dismissal of this action in accordance with this agreement,

the District Court shall continue to retain jurisdiction over this action for the purpose of

enforcing the terms of the settlement agreement reached between the parties and set forth in the
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Stipulation of Settlement executed by the parties in this matter.

Dated: New York, New York
       October _____, 2020


ELEFTERAKIS, ELEFTERAKIS &                             JAMES E. JOHNSON
PANEK                                                  Corporation Counsel of the
Attorneys for Plaintiff                                       City of New York
80 Pine Street, 38th Floor                             Attorney for Defendants City of New York,
New York, NY 10005                                        Lalchan, Georg, Fritz, Bracero, Reo,
                                                          Sjoberg, Shine, and Catalina
                                                       100 Church Street, 3rd Floor
                                                       New York, New York 10007

By: ______________________________
    Baree N. Fett                                      Joanne M. McLaren
    Gabriel P. Harvis
    Attorneys for Plaintiff
                                                       SO ORDERED:




                                                       /S/ Frederic Block
                                                       HON. FREDERIC BLOCK
                                                       UNITED STATES DISTRICT JUDGE

                                                                        10/27/
                                                       Dated: _______________, 2020




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